Case 3:92-cr-00365-D         Document 93        Filed 08/30/05      Page 1 of 1      PageID 798




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )           3:92-CR-365-D(29)
                                                 )
BRYAN ANTHONY DAVIS, #40427-053,                 )
              Defendant.                         )

                                             ORDER

       After conducting a de novo review, the Court finds that the Findings, Conclusions and

Recommendation of the Magistrate Judge are correct, and they are adopted as the findings and

conclusions of the Court.

       IT IS THEREFORE ORDERED that Defendant Brian Anthony Davis’s motion for modification

of sentence pursuant to 18 U.S.C. § 3582(c)(2), filed on July 14, 2005, is DENIED.

       Signed August 30, 2005.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             UNITED STATES DISTRICT JUDGE
